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NOT FOR PUBLICATION
                            INITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


INTERSTATE FIRE AND CASUALTY
COMPANY,                                         :   CIVIL ACTION NO. 17-11305 (JLL)

      Plaintiff,                                             OPINION & ORDER

      V.


SCHNELLBACHER-SENDON GROUP,
LLC, eta!.,

       Defendants.



LINARES, Chief District Judge

       IT APPEARING THAT:

       1.     The Court ordered the plaintiff, Interstate Fire and Casualty Company

(hereinafter, “the Insurer”), to show cause why the complaint should not be dismissed

either (a) for lack of diversity jurisdiction, or (b) based upon Britthart abstention. (ECF

No. 4.) See 28 U.S.C.   §   1332; see also Wi/ton v. Seven falls Co., 515 U.S. 277, 280—90

(1995) (reaffirming Bill/hart v. Excess Ins. Co., 316 U.S. 491 (1942)). For the following

reasons, the Court dismisses the complaint based upon Bill/hart abstention, and does so

without prejudice to the Insurer to reinstitute its claims in the appropriate New Jersey

state court within 30 days.

       2.     The Court assumes that the parties are familiar with the facts and the legal

arguments that were set forth in the Order to Show Cause, and will not repeat all of them
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here. (Id. at 1—7.) The Court will oniy mention that an entity known as Rialto Capital

Condominium Association, Inc. (hereinafter, “Rialto”) brought an action in New Jersey

state court to recover damages for deficient construction work (hereinafter, “the State

Construction Action”) against Schnellbacher-Sendon Group, LLC (hereinafter, “the

Insured”), and that the State Construction Action is being actively litigated. (Id. at 1.)

The Insurer provided insurance coverage to the Insured. (Id. at 2.) After the State

Construction Action was commenced, the Insurer brought this federal action (hereinafter,

“the Declaratory Judgment Action”) against the Insured and another insurer for a

judgment declaring that: (a) it is not obligated to defend and indemnify the Insured in the

State Construction Action; or (b) in the alternative, the other insurer is obligated to

contribute to the Insured’s defense in the State Construction Action. (Id.)

       3.     In response to the Court’s Order to Show Cause, the Insurer has shown that

there is complete diversity of citizenship in this action. (ECf No. 10 at 5—6, 9—10; ECF

No. 10-2 at 2.) Thus, the Court will not dismiss the complaint on that basis.

       4.      In addition, the Insurer objects to dismissal based upon Brilihart abstention.

(ECF No. 10 at 12.) The defendants have not responded to the Court’s Order to Show

Cause on this issue.

       5.      The Court finds that the Insurer’s arguments actually show that Bri/thart

abstention is appropriate. For instance, the Insurer argues that it covered the Insured from

2010 to 2011, but admits that the issue of when the underlying damages arose remains to




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be determined in the State Construction Action. (Id. at 8, 12.) Indeed, the Insurer also

admits that a complete determination of its declaratory-relief claims “may require the

joinder of all interested parties, including the underlying plaintiff” (Id. at 16 (emphasis

added).)

       6.     furthermore, a comparison of the pleadings in both actions reveals that the

Court would need to delve into issues concerning the Insured’s alleged awareness of

certain construction defects that are identical to the issues being addressed in the State

Construction Action. (Compare ECF No. I at 3—9, 14—17 (the Insurer setting forth the

allegations against the Insured in the Declaratory Judgment Action, and referring to the

complaint in the State Construction Action), with ECF No. 1-2 at 14—15, 23—25 (Rialto

setting forth the same allegations against the Insured in the State Construction Action).)

       7.      As a result, the Court concludes that there is a significant potential for

conflicts to arise between determinations in the State Construction Action and the

Declaratory Judgment Action, because a decision on the Insurer’s coverage to the Insured

may very well overlap with matters that are central to liability in the State Construction

Action. The Third Circuit Court of Appeals has recognized that      “[ut is possible that, in
certain circumstances, determining the issue of coverage will rely on questions central to

the underlying liability proceeding,” and thus “warrants a court’s abstention.” Kelly v.

Maxztm Specialty Ins. Grp., 868 F.3d 274, 287 n.12 (3d Cir. 2017); see also StateAttto

Ins. Cos. v. Summy, 234 f.3d 131, 135—36 (3d Cir. 2001) (abstaining from the



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adjudication of an insurance coverage action that was brought in federal court, and

holding that “[t]he desire of.   .   .   [the Insurer] to receive declarations in federal court on

matters of purely state law has no special call on the federal forum”).

       8.     The Insurer also argues that it “would be burdened if it were required to

refile in state court because it would be required to possibly join additional parties and

pay additional costs.” (ECF No. 10 at 15.) However, that is a self-created burden, as the

Insurer could have easily initiated its declaratory-relief claims in the same state court

where the State Construction Action is pending.

       9.     Therefore, the Court finds that the Insurers arguments are unavailing, and

that Brilihart abstention is appropriate here. For good cause shown:




       IT IS THEREFORE on this                                day of January, 2018, ORDERED

that the complaint is dismissed without prejudice to the plaintiff to reinstitute its claims in

the appropriate New Jersey state court within 30 days; and it is further

       ORDERED that the action is closed.




                                                          J SE L. LINARES
                                                           hief Judge, United States District Court




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